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                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


ALBERT G. HILL, III,                                 §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §    Civil Action No. 3:07-CV-2020-L
                                                     §
WILLIAM SCHILLING, et al.,                           §
                                                     §
                Defendants.                          §

                             MEMORANDUM OPINION AND ORDER

        Before the court are: Washburne and Summers’ Emergency Motion to Enforce the Final

Judgment and Settlement Agreement, and Application for Temporary Restraining Order, Preliminary

Injunction, and Permanent Injunction (Doc. 1876) (“W & S’s Motion”), filed under seal on May 29,

2018; and Albert G. Hill, III’s (“Hill III”) Emergency Application for Temporary Restraining Order

and Injunctive Relief to Enforce Global Settlement Agreement and Final Judgment and for

Preservation of Assets and Records (“Hill III’s Motion”), filed under seal on May 29, 2018 (Doc.

1877).1 On June 1, 2018, the court issued a memorandum opinion and order, incorporated by

reference as if repeated verbatim herein, in which it concluded that neither side had satisfied its

burden of demonstrating: (i) that a substantial threat of irreparable harm would result absent issuance

of a temporary restraining order; or (ii) a substantial likelihood of prevailing on the merits. Hill v.

Schilling, No. 3:07-CV-2020-L, 2018 WL 2461877, at *6-8 (N.D. Tex. June 1, 2018) (Lindsay, J.).


        1
           Hill III seeks injunctive relief against Margaret Keliher, Individually and as Temporary
Administrator of the Estate of the Albert G. Hill, Jr., Tyree Miller, proponent of the alleged Last Will and
Testament of Hill Jr., Chester J. “Don” Donnally, Jr., Ivan Irwin, Jr., Thomas P. Tatham, and Joyce E. Waller
(collectively, “Respondents”).

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For these reasons, the court denied the parties’ respective requests for issuance of a temporary

restraining order and “defer[red] ruling on the remainder of the relief requested pending its

consideration of the parties’ respective applications for preliminary injunction and related relief.”

Id. at *9.

        After consideration of the remaining relief sought by the parties, legal briefs, appendixes,

record, and applicable law, and in light of proceedings pending in the Probate Court No. Two of

Dallas County, Texas, see Estate of Albert Galatyn Hill, Jr., Deceased, PR-17-04117-2, for the

reasons stated herein, the court denies without prejudice as premature the remaining relief sought

in W & S’s Motion (Doc. 1876) and Hill III’s Motion (Doc. 1877).

I.      Background2

        On December 28, 1935, Haroldson L. Hunt (H. L. Hunt) and his wife Lyda Bunker Hunt

created two trusts for their children, namely: (1) the Margaret Hunt Trust Estate (“MHTE”); and (2)

the Haroldson L. Hunt, Jr. Trust Estate (“HHTE”). The 1935 Articles of Agreement and []

Declaration of Trust of Margaret Hunt Trust Estate govern the MHTE (the “1935 MHTE Trust

Instrument”) and the 1935 Articles of Agreement and Declaration of Trust of Haroldson L. Hunt,

Jr. Trust Estate govern the HHTE (the “1935 HHTE Trust Instrument”). The terms of the MHTE

and the HHTE are identical (except for the initial beneficiary). The 1935 MHTE Trust Instrument

and the 1935 HHTE Trust Instrument both provide that “it is the desire and purpose of said H. L.

Hunt and Lyda Hunt” to create an “irrevocable trust,” and both provide, among other things, that

during the lifetime of the beneficiary, only the annual income could be distributed to the beneficiary,


        2
          The court’s recitation of the relevant background is based on the materials contained in the
appendixes submitted by the parties in support of their respective motions, as well as the court’s prior
decisions in this case.

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requiring that the corpus remain “intact and undisturbed” until twenty-one years after the death of

the named beneficiary, at which time the trust would terminate and the corpus of the trust would be

distributed to the beneficiary’s descendants per stirpes. Doc. 1857-3 at 201, 206-07; id. at 210, 216-

17. Lyda Bunker Hunt later established trusts for her grandchildren though her Last Will and

Testament, dated September 16, 1954, which included the Lyda Hunt - Margaret Trusts, Albert G.

Hill, Jr.

        In December 2007, Hill III brought a lawsuit in Texas state court in his individual capacity

and on behalf of the MHTE and HHTE against specific beneficiaries of the MHTE and HHTE,

including his father (Hill Jr.), Hill Jr.’s siblings, and the trustees and members of the advisory boards

of the MHTE and HHTE. Among other things, Hill III alleged wrongdoing in the management and

administration of the MHTE and HHTE by their respective trustees and violations of the Racketeer

Influenced and Corrupt Organizations Act, 18 U.S.C § 1961, et seq. He also sought a declaration

that he was a direct and vested beneficiary of the MHTE as a consequence of his father’s disclaimer

of various interests he held in the MHTE.3 Following removal to federal court on December 3, 2007,

the case was randomly assigned to United States District Judge Reed C. O’Connor.




        3
           Much of the dispute centered on Hill III’s claimed interest in the MHTE following the 2007 death
of his paternal grandmother, Margaret Hunt Hill. In 2005, Hill Jr. signed an irrevocable disclaimer of a
portion of his interest in the MHTE in favor of his three children, including Hill III. See Ex. C to Global
Settlement and Mutual Release Agreement (2005 Disclaimer) (Doc. 879). The effect of the disclaimer is that
Hill Jr.’s disclaimed interest passed to Hill III and his two siblings after Margaret Hunt Hill’s death. See
March 4, 2010 Mem. Op. & Order 7-8 (Doc. 611). In 2007, Hill Jr. sought to rescind his 2005 disclaimer,
along with another partial disclaimer he had executed in 2007. This litigation ensued.


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        A.      The Settlement Agreement

        Ultimately, Hill III agreed to a settlement of the dispute. On May 13, 2010, the parties

entered into the Global Settlement and Mutual Release Agreement (the “Settlement Agreement”)

(Doc. 879) that settled this action and related state court actions. As relevant to the pending motions,

the Settlement Agreement affirmed Hill Jr.’s 2005 disclaimer (see supra note 3) and provided for

the partition of the MHTE and HHTE, pro rata, into separate subtrusts for all beneficiaries. Under

the Settlement Agreement, Hill III would become the sole beneficiary to one of the new subdivided

trusts containing his individual interest, the MHTE - Albert G. Hill, III Trust; and Hill Jr. would

become the beneficiary of the MHTE - Albert G. Hill, Jr. Trust and the HLHTE - Albert G. Hill Jr.,

Trust. Each subtrust was to be separately administered by a new successor trustee. The parties also

agreed that monetary damages might not adequately recompense the parties for every breach and

that, therefore, specific performance and injunctive relief would be available for any breach of any

term of the Settlement Agreement. Settlement Agreement § III(5)(r).

        In the Settlement Agreement, each “Agreeing Party,” defined to include Hill III, agreed to

waive his or her standing and right to demand information, seek accountings, or assert any claim or

cause of action in connection with any trust for the primary benefit of a descendant of Margaret Hunt

Hill of which he or she was not a current beneficiary:

        (b)     Waiver of Standing: During such time as an Agreeing Party is not a current
                beneficiary of a trust for the primary benefit of a descendant of MHH (an
                “MHH Trust”) and any other descendant of MHH is living, such Agreeing
                Party hereby waives (1) his or her status as an interested person in such trust
                and (2) all rights that he or she may have as a future or contingent beneficiary
                of such trust under the instrument establishing such MHH Trust, under
                applicable common law, or under applicable state law, including but not
                limited to the right to demand information, seek an accounting or assert any
                claim or cause of action in connection with any such trust. Each Agreeing


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                   Party further agrees that the waivers in this subparagraph shall not apply to
                   an MHH Trust during any period in which he or she is a current beneficiary
                   of that MHH Trust, although the waivers in this subparagraph shall continue
                   to apply to any actions taken or omitted by any other person or entity during
                   the period that he or she was not a current beneficiary. For purposes of this
                   paragraph, “current beneficiary” means a person who, at the time a current
                   beneficiary is determined, is then entitled to receive, or is then, in an exercise
                   of discretion by the trustee of such trust, a possible recipient of, income or
                   principal of such trust.

Id. § III(5)(b). Further, Hill III agreed not to contest Hill Jr.’s will or file any action challenging the

disposition of his property:

        (f)        No Contest of Al Jr.’s Last Will and Testament: Al III, Erin, the
                   Grandchildren, and all of their descendants and heirs agree not to contest the
                   Last Will and Testament of Al Jr. or file any additional action, lawsuit, or
                   legal proceeding challenging the disposition of his property.

Id. § III(1)(f).

        Finally, the parties agreed that this court would have continuing jurisdiction over any claim

or controversy arising out of the Settlement Agreement:

        (c)        Federal Court’s Continuing Jurisdiction: Any controversy or claim arising
                   after the date of execution of this Agreement arising out of this Agreement
                   and the Documentation shall be resolved by the Federal Court, the Honorable
                   Reed O’Connor, who shall retain continuing jurisdiction over this
                   Agreement.

Id. § III(5)(c).

        B.         The Final Judgment

        On November 8, 2010, Judge O’Connor issued a final judgment (the “Final Judgment”)

implementing and memorializing the parties’ Settlement Agreement. See Final J. ¶ 1 (Doc. 999).

Among other things, the Final Judgment affirmed Hill Jr.’s 2005 disclaimer of a portion of his

interest in the MHTE (id. ¶ 5), resulting in a share of the MHTE for Hill III’s benefit, as well as an



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MHTE termination interest trust (id. ¶ 8.i), and a separate MHTE termination interest trust that was

specifically created to provide Hill III with a portion of the corpus of the MHTE upon the

termination of the MHTE termination interest trust (id. ¶ 8.f). With respect to Hill Jr., the division

of the MHTE and HHTE into separate subtrusts in accordance with the Settlement Agreement

resulted in the MHTE - Albert G. Hill, Jr. Trust and the HLHTE - Albert G. Hill, Jr. Trust. Like the

MHTE and HHTE, these two trusts were governed by the 1935 MHTE Trust Instrument and the

1935 HHTE Trust Instrument, respectively. Id. ¶ 14.

       The court also enforced the Agreeing Parties’s waiver of standing provision, whereby each

Agreeing Party, defined to include Hill III, agreed to waive any right to demand information, seek

accountings, or assert any claim or cause of action in connection with, any trust for the primary

benefit of a descendent of Margaret Hunt Hill of which he or she was not a current beneficiary:

       Waiver of Standing

       28. IT IS ORDERED that, pursuant to the Agreement, the Court finds that during
       such time as an Agreeing Party is not a current beneficiary of a trust for the primary
       benefit of a descendant of Margaret Hunt Hill (“MHH”) (an “MHH Trust”) and any
       other descendant of MHH is living, such Agreeing Party has waived: (1) his or her
       status as an interested person in such trust, and (2) all rights that he or she may have
       as a future or contingent beneficiary of such trust under the instrument establishing
       such MHH Trust, under applicable common law, or under applicable state law,
       including but not limited to the right to demand information, seek an accounting, or
       assert any claim or cause of action in connection with any such trust. IT IS
       FURTHER ORDERED that Al III and Erin shall at no time have standing with
       respect to the Single Fund Grandchildren’s Trust, including as guardians of minor
       beneficiaries of the Single Fund Grandchildren’s Trust and any trusts created
       thereunder. IT IS FURTHER ORDERED that, pursuant to the Agreement, the
       waivers by each Agreeing Party in this paragraph shall not apply to an MHH Trust
       during any period in which such Agreeing Party is a current beneficiary of that MHH
       Trust, although the waivers in this paragraph shall continue to apply to any actions
       taken or omitted by any other person or entity during the period that such Agreeing
       Party was not a current beneficiary. For purposes of this paragraph, “current
       beneficiary” means a person who, at the time a current beneficiary is determined, is


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        then entitled to receive, or is then, in an exercise of discretion by the trustee of such
        trust, a possible recipient of, income or principal of such trust.

Id. ¶ 28 (emphasis added). The court additionally ordered Hill III not to contest Hill Jr.’s will or

challenge the disposition of his property. Id. ¶ 29.

        Finally, consistent with the Settlement Agreement, Judge O’Connor retained continuing

jurisdiction over the implementation and enforcement of the Final Judgment:

               IT IS ORDERED that, without affecting the finality of this Final Judgment,
        the Court hereby retains continuing jurisdiction over the implementation of the
        [Settlement] Agreement, the Final Judgment, and the Parties for purposes of
        implementing and enforcing the [Settlement] Agreement and this Final Judgment.
        IT IS FURTHER ORDERED that any controversy or claim arising after the date of
        execution of the [Settlement] Agreement and arising out of the [Settlement]
        Agreement or the Documentation shall be resolved by this Court. Each of the
        Agreeing Parties agrees and covenants not to, and IT IS ORDERED that none of the
        Agreeing Parties shall, file or assert any of the released Claims (in law or in equity).

Id. ¶ 45.4

        Hill III appealed the Final Judgment challenging, among other things, the addition of

provisions that were not part of the Settlement Agreement. The Fifth Circuit affirmed the Final

Judgment. See Hill v. Schilling, 495 F. App’x 480 (5th Cir. 2012) (consolidated appeal).

        C.      Hill Jr.’s Last Will and Testament (“Will”)

        On December 20, 2014, Hill Jr. executed his Will, which included the following provisions:

        (a) I hereby exercise the testamentary special power of appointment given to me
        under paragraph VIII, of The Lyda Hunt-Margaret Trusts, Al G. Hill, Jr., created
        under the Last Will and Testament of Lyda Bunker Hunt, dated the 16th day of


        4
          On October 2, 2013, this matter was reassigned to the undersigned following the recusal of Judges
O’Connor, Lynn, Solis, Godbey, Boyle, Fitzwater, and Kinkeade. Accordingly, this court has continuing
jurisdiction over the implementation of the Settlement Agreement, Final Judgment, and the parties for
purposes of implementing and enforcing the Settlement Agreement and the Final Judgment. See Final J. ¶
45.


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        September, 1954, in favor of my grandchildren [AGH, IV, NHH, and CMH], that
        they should succeed me as to all interests which I have in such Trust estate;

        (b) I hereby exercise the power of appointment given to me under Article III, Section
        3 of the Albert Hill Trust, dated the 10th day of April, 1945, in favor of the Al G.
        Hill, Jr. Family Foundation ("Foundation"), so that the Foundation should succeed
        me as to all interests which I have in such Trust estate;

        (c) I hereby exercise the power of appointment given to me under Article III, Section
        3 of the HLHTE-Albert G. Hill, Jr. Trust, created under a settlement agreement, by
        which the Haroldson L. Hunt, Jr. Trust Estate, dated 28th day of December, 1935,
        was split into separate trusts, in favor of the Al G. Hill, Jr. Charitable Lead Annuity
        Trust ("CLAT") created under Article IV of THE AL G. HILL, JR. FAMILY
        TRUST, more particularly defined in paragraph 2,2 below, so that such Al G. Hill,
        Jr. Charitable Lead Annuity Trust should succeed me as to all interests which I have
        in such Trust estate;

        (d) I hereby exercise the power of appointment given to me under Article III, Section
        3 of the MHTE-Albert G. Hill, Jr. Trust, created under a settlement agreement, by
        which the Margaret Hunt Trust Estate, dated December 28, 1935, was split into
        separate trusts, in favor of the Al G. Hill, Jr. Charitable Lead Annuity Trust created
        under Article IV of THE AL G. HILL, JR. FAMILY TRUST, more particularly
        defined in paragraph 2,2 below, so that such Al G. Hill, Jr. Charitable Lead Annuity
        Trust should succeed me as to all interests which I have in such Trust estate.

W & S’s App., Ex. 1B (Doc. 1876-3 at 31) (emphasis added).5

        D.       Termination of the Trusts During Hill Jr.’s Lifetime

        On December 13, 2016, the MHTE - Albert G. Hill, Jr. Trust was terminated pursuant to a

written instrument titled MHTE - Albert G. Hill, Jr. Trust Trustee Resolution and Record of Trust

Termination (id. at Ex. 2A); and the HLHTE - Albert G. Hill, Jr. Trust was terminated pursuant to

a written instrument titled HLHTE - Albert G. Hill, Jr. Trust Trustee Resolution and Record of Trust



        5
          Although the Trustees are correct that Hill Jr.’s Will excluded Hill III, they erroneously state that
his Will also excluded Hill III’s children. Trustee Br. 24. Hill Jr.’s Will, however, conveyed the rights to
the Lyda Hunt - Margaret Trusts, Albert G. Hill, Jr., to Hill III’s children. Hill III’s App. at 105 (Doc. 1877).



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Termination (id. at Ex. 2B). On December 28, 2016, the Lyda Hunt - Margaret Trusts, Albert G.

Hill, Jr. was terminated pursuant to a written instrument titled the Lyda Hunt - Margaret Trusts, FBO

Albert G. Hill, Jr. Record of Trust Termination (id. at 3A).

        E.      Hill Jr.’s Death and the Application for Probate of his Will

        On December 6, 2017, counsel for Hill III filed a Suggestion of Death, stating, “upon the

record, pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure, the death of [Hill Jr.],

Defendant, on December 2, 2017.” Suggestion of Death (Doc. 1811). On December 7, 2017, Tyree

Miller (“Miller”), named the Independent Executor of Hill Jr.’s Estate by his will, filed an

Application for Probate of Will and Issuance of Letters Testamentary in Probate Court No. 2 of

Dallas County, Texas (the “Probate Court”), seeking to probate Hill Jr.’s will, to be appointed as the

independent Executor of Hill Jr.’s Estate, and to have letters testamentary issued in accordance with

the will. See Estate of Albert Galatyn Hill, Jr., Deceased, PR-17-04117-2, pending in the Probate

Court No. Two of Dallas County, Texas.

        On December 22, 2017, Hill III filed an Original Answer in the Probate Court admitting the

allegations regarding the date of Hill Jr.’s death, his age, the listing of his children, his domicile at

death, and that the Probate Court has jurisdiction and venue over Hill Jr.’s probate matter, but

otherwise denying all other allegations made by Miller in the Application for Probate of Will and

Issuance of Letters Testamentary. On January 5, 2018, in light of Hill III’s Original Answer,

Margaret Keliher (“Keliher”) filed an Emergency Application for Appointment of Temporary

Administrator with the Probate Court, advising it of these proceedings, and the need for someone

to represent the Estate of Hill Jr. On January 10, 2018, the Probate Court granted Keliher’s

application and appointed her as Temporary Administrator of the Estate of Hill Jr. On May 15,


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2018, this court granted Keliher’s Motion for Leave to Substitute in this action in the place of Hill

Jr.

        In addition to asserting that Miller should be disqualified due to a conflict of interest, Hill

III is: (1) claiming and seeking a declaration that Hill Jr. did not have the powers of appointment he

exercised in his Will with respect to the MHTE - Albert G. Hill, Jr. Trust, the HLHTE - Albert G.

Hill, Jr. Trust, the Lyda Hunt - Margaret Trusts, Albert G. Hill, Jr. , and the Albert Hill Trust; (2)

seeking accountings of certain trusts; (3) seeking injunctive relief; (4) seeking the imposition of

constructive trusts; and (5) seeking damages and attorney’s fees. The Probate Court has held several

hearings and has set these issues for a trial to begin on August 20, 2018.6

        F.       The Pending Motions

        Pending are W & S’s and Hill III’s respective requests for preliminary and permanent

injunctive relief and motions to enforce the Settlement Agreement and Final Judgment that are the

subject of this memorandum opinion and order. See W & S’s Motion (Doc. 1876); Hill III’s Motion

(Doc. 1877). In support of their motion, Washburne and Summers argue that Hill III is violating the

Final Judgment and breaching the Settlement Agreement by: asserting claims contesting Hill Jr.’s

Will; objecting to Miller as the Independent Executor of the Estate; challenging the disposition of

Hill Jr.’s property; and seeking declaratory relief regarding whether Hill Jr. had powers of

appointment in certain trusts to exercise in his Will, as well as accountings of various trusts


        6
           In response to an order of the Probate Court to add all additional parties affected or interested in
the matters asserted by Hill III, on April 30, 2018, Hill III filed a Supplemental Answer and Original
Counterclaim adding thirteen new parties to the Probate Court litigation—including Washburne, Summers,
and their children. In his amended pleading in the Probate Court, Hill III continues to argue that Hill Jr. did
not have the powers of appointment with respect to the trusts to exercise in his Will and seeks a declaration
to this effect.


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(including the HLHTE - Albert G. Hill, Jr. Trust and the MHTE - Albert G. Hill, Jr. Trust). They

seek to enjoin Hill III from:

       (1) contesting Hill Jr.’s Will;

       (2) filing any action, lawsuit, or legal proceeding challenging the disposition of Hill
       Jr.’s property;

       (3) demanding information and documents in connection with any trust for the
       primary benefit of a descendant of Margaret Hunt Hill (i.e., Hill Jr.) of which Hill III
       is not a current beneficiary, especially (i) the MHTE - Albert G. Hill, Jr. Trust, (ii)
       the HLHTE - Albert G. Hill, Jr. Trust, (iii) the Lyda Hunt - Margaret Trusts, Al G.
       Hill, Jr., and (iv) the Albert Hill Trust;

       (4) seeking an accounting in connection with any trust for the primary benefit of a
       descendant of Margaret Hunt Hill (i.e., Hill Jr.) of which Hill III is not a current
       beneficiary, especially (i) the MHTE - Albert G. Hill, Jr. Trust, (ii) the HLHTE -
       Albert G. Hill, Jr. Trust, (iii) the Lyda Hunt - Margaret Trusts, FBO Al G. Hill, Jr.,
       and (iv) the Albert Hill Trust; and

       (5) asserting any claim or cause of action in connection with any trust for the primary
       benefit of a descendant of Margaret Hunt Hill (i.e., Hill Jr.) of which Hill III is not
       a current beneficiary, especially (i) the MHTE - Albert G. Hill, Jr. Trust, (ii) the
       HLHTE - Albert G. Hill, Jr. Trust, (iii) the Lyda Hunt - Margaret Trusts, FBO Al G.
       Hill, Jr., and (iv) the Albert Hill Trust.

W & S’s Motion 3 (Doc. 1876).

       In support of his motion, Hill III contends that the major subtrusts that were supposed to be

preserved by the Final Judgment have been prematurely and unlawfully terminated by Hill Jr. and

his cohorts, thereby destroying the valuable inheritance of Hill III and his descendants, from the H.L.

Hunt family, estimated to be worth in excess of $1 billion. Hill III’s Mot. 2. According to Hill III:

       In [his] Will, Hill Jr. purported to exercise phantom “powers of appointment” to
       alter completely the passage of the MHTE and HHTE subtrusts resulting from the
       GSA, totally disinheriting Hill III, his siblings, and their children. Accordingly, Hill
       III appeared in the Probate Proceeding challenging the ability of the decedent to alter
       the fixed provisions for succession to the income distribution rights and the



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       termination distribution rights under such subtrusts which had been preserved and
       carried forward by the GSA and Final Judgment.

Hill III’s Brief 5 (emphasis added). Further, Hill III asserts:

               The Final Judgment made it clear that other than the specific changes set forth
       in the Judgment, all other provisions of the formative documents for the MHTE and
       HHTE trusts would remain in full force and effect. Such trust instruments both had
       substantially identical provisions, establishing them as irrevocable, providing that
       during the lifetime of the beneficiary, only the annual income could be distributed to
       the beneficiary, that the beneficiary could not request distribution of corpus or
       dissolution of the trust, and that 21 years after the death of the named beneficiary, the
       corpus of the trust would be distributed to the beneficiary’s descendants per stirpes.
       In addition, on information and belief, the Lyda Hunt - Margaret Trusts FBO Albert
       G. Hill, Jr., had similar provisions. Therefore, following Hill Jr.’s death on December
       2017, Hill III and his siblings, and their children, would have succeeded to Hill Jr.’s
       potential termination interest in the massive subtrusts created under the Final
       Judgment, and the Lyda Hunt Trust. It now appears that the Hill Jr. representatives
       are attempting to subvert the rights of his descendants through their illegal acts,
       which seek to deny Hill III, his siblings, and their children, from the rights that they
       acquired as a result of the [Settlement Agreement] and Final Judgment.

Id. at 3. Hill III seeks an injunction to preserve the assets of the MHTE - Albert G. Hill Jr. Trust,

the HLHTE - Albert G. Hill, Jr. Trust, and the Lyda Hunt - Margaret Trusts, Albert G. Hill, Jr., and

to prevent dissipation, concealment, and further transfer of such assets, and preservation of all

records relating to such trusts and actions affecting them. Id. at 4. He also seeks to restrain and

enjoin Respondents from destroying, spoiling, altering, modifying, deleting, or concealing, any

evidence of or relating to the:

       1. Exercise of the purported powers of appointment of Hill Jr. over the MHTE -
       Albert G. Hill, Jr. Trust, and the HLHTE - Albert G. Hill, Jr. Trust, or assistance in
       carrying out such purported powers;

       2. Dissolution or termination of the MHTE - Albert G. Hill, Jr. Trust, the HLHTE -
       Albert G. Hill, Jr. Trust, and/or Lyda Hunt - Margaret Trusts FBO Albert G. Hill, Jr.,
       or assistance or implementation of such termination or dissolution;




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       3. Management, operation, payment of funds for any purpose other than investment;
       or

       4. Transfer, sale, encumbrance, secreting, or any other disposition of or alteration of
       any assets that had formerly been held by either MHTE - Albert G. Hill, Jr. Trust, the
       HLHTE - Albert G. Hill, Jr. Trust, or Lyda Hunt - Margaret Trusts FBO Albert G.
       Hill, Jr.

       As previously stated, on June 1, 2018, the court issued a memorandum opinion and order,

denying the parties’ respective requests for a temporary restraining order, concluding that neither

side had satisfied its burden of demonstrating: (i) that a substantial threat of irreparable harm would

result absent issuance of a temporary restraining order; or (ii) a substantial likelihood of prevailing

on the merits. Hill, 2018 WL 2461877, at *6-8. The court “defer[red] ruling on the remainder of the

relief requested pending its consideration of the parties’ respective applications for preliminary

injunction and related relief.” Id. at *9. The court now turns to the remaining relief requested.

II.    Analysis

       A.      The Scope of the Court’s Continuing Jurisdiction

       As a threshold matter, the court notes that Settlement Agreement and Final Judgment only

modified the MHTE and HHTE. In the Final Judgment, Judge O’Connor retained “continuing

jurisdiction over the implementation of the [Settlement] Agreement, the Final Judgment, and the

Parties for purposes of implementing and enforcing the [Settlement] Agreement and this Final

Judgment.” See Final J. ¶ 45 (Doc. 999). He further ordered that “any controversy or claim arising

after the date of execution of the [Settlement] Agreement and arising out of the [Settlement]

Agreement or the Documentation shall be resolved by this Court.” Id. With respect to any Hunt/Hill

family trusts other than the MHTE and HHTE, therefore, this court does not have continuing

jurisdiction, and issues pertaining to those family trusts are not properly before this court. The


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court declines to expand its continuing jurisdiction beyond the implementation and enforcement of

the Settlement Agreement and Final Judgment.

        B.      Hill III’s Standing

        Prior to making any determination on the merits, the court must resolve the disputed issue

of whether Hill III waived his standing to seek relief in the Probate Court and this court.

Specifically, in response to Hill III’s Motion, Respondents argue that Hill III waived his standing

under the Settlement Agreement and the Final Judgment to assert any claims regarding: the MHTE -

Albert G. Hill, Jr. Trust; the HLHTE - Albert G. Hill, Jr. Trust; and the Lyda Hunt - Margaret Trusts,

Albert G. Hill, Jr.:

                The MHTE and HHTE Trust Instruments expressly permitted the Trustees,
        with the Advisory Board’s consent, to voluntarily dissolve the Trusts and the MHTE
        and HHTE Trust Instruments expressly grant Hill, Jr. power of appointment. The
        Trustees, with the approval of the Advisory Boards, terminated both Trusts in
        December 2016, before Hill Jr.’s death in December 2017. In addition, in his Will,
        Hill Jr. exercised his power of appointment in favor of beneficiaries that did not
        include Hill III.

                Here, the Trustees, with the approval of the Advisory Boards, terminated the
        Trusts before Hill Jr.’s death and, additionally, Hill Jr. exercised his powers of
        appointment effective upon his death so Hill III never became a beneficiary.
        Consequently, Hill III and his children are not and have never been beneficiaries of
        the MHTE—Albert G. Hill, Jr. Trust or the HLHTE—Albert G. Hill, Jr. Trust (or the
        Lyda Hunt—Margaret Trusts, Albert G. Hill, Jr. to the extent Hill III is attempting
        to seek relief regarding this trust). In fact, Hill III has no interest whatsoever in these
        two trusts; he is a stranger to these trusts.

Doc. 1864 at 10 (emphasis added).

        In response to the argument that he waived his standing with respect to these trusts in the

Settlement Agreement and Final Judgment, Hill III asserts:

               The arguments that Hill III lacks standing . . . are circular. They are primarily
        based upon the assumption that the premature termination of the trusts was valid, and


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       that the powers of appointment purportedly exercised by Hill Jr. in his Will were
       valid. This begs the question. If the trusts were illegally terminated to defeat Hill III’s
       rights under the [Settlement Agreement] and the Final Judgment, or in violation of
       the fiduciary duties owed by the Trustees to all beneficiaries, even future
       beneficiaries, then Hill III does have standing to assert his claims.

Doc. 1880 at 2.

       Paragraph 28 of the Final Judgment provides, in relevant part:

        Waiver of Standing

       28. IT IS ORDERED that, pursuant to the Agreement, the Court finds that during
       such time as an Agreeing Party is not a current beneficiary of a trust for the primary
       benefit of a descendant of Margaret Hunt Hill (“MHH”) (an “MHH Trust”) and any
       other descendant of MHH is living, such Agreeing Party has waived: (1) his or her
       status as an interested person in such trust, and (2) all rights that he or she may have
       as a future or contingent beneficiary of such trust under the instrument establishing
       such MHH Trust, under applicable common law, or under applicable state law,
       including but not limited to the right to demand information, seek an accounting, or
       assert any claim or cause of action in connection with any such trust.

Final J. ¶ 28 (emphasis added). Paragraph 28 also defined the term “current beneficiary,” for

purposes of determining standing as: “a person who, at the time a current beneficiary is determined,

is then entitled to receive, or is then, in the exercise of discretion by the trustee of such trust, a

possible recipient of, income or principal of such trust.” Id.

       Paragraph 28 is unambiguous. Hill III only agreed to waive his standing to the extent he was

“not a current beneficiary” of a trust for the primary benefit of a descendant of Margaret Hunt Hill.

Id. Absent Hill Jr.’s exercise of “powers of appointment” in his Will in favor of beneficiaries that

did not include Hill III, and absent dissolution of the trusts at issue prior to his death, under the

express terms of the MHTE and HHTE, Hill III, as a lineal descent of Hill Jr., would be a current



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beneficiary. Otherwise stated, if it is determined that: (i) Hill Jr. lacked the powers of appointment

he sought to exercise in his Will, and (ii) prematurely and unlawfully dissolved the relevant trusts

during his lifetime, as Hill III contends, then under the unambiguous terms of the trust instruments,

following Hill Jr.’s death, Hill III would be a current beneficiary with standing under the Final

Judgment.

        Pending before the Probate Court is Hill III’s request for a declaratory judgment that Hill Jr.

lacked the powers of appointment he sought to exercise in his Will with respect to the MHTE -

Albert G. Hill, Jr. Trust, the HLHTE - Albert G. Hill, Jr. Trust, the Lyda Hunt - Margaret Trusts,

Albert G. Hill, Jr., and the Albert Hill Trust. If the Probate Court decides that Hill Jr.’s exercise of

these powers of appointment was invalid, then Hill Jr.’s beneficiary designations in his Will would

lapse. By contrast, if the Probate Court decides that Hill Jr. properly exercised these powers of

appointment in his Will, thereby lawfully excluding Hill III from any inheritance, Hill III would not

qualify as a current beneficiary and the waiver of standing provision in the Settlement Agreement

and Final Judgment would, therefore, bar him from seeking relief in the Probate Court or this court

with respect to the trusts at issue. Under the latter scenario, whether the termination of the trusts

during Hill Jr.’s lifetime was impermissible would be moot.

        Insofar as the parties seek to present these issues before the undersigned, while also pursuing

them in the Probate Court, the court declines this invitation. These disputed matters are inextricably

intertwined with the probate of Hill Jr.’s Will.         As Keliher’s counsel, Jeffrey N. Myers,

acknowledged at a March 29, 2018 hearing before the Probate Court, whether the powers of



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appointment exercised by Hill Jr. in his Will were valid is a matter of state law properly before the

Probate Court. See Hill III App. at 278 (Doc. 1877) (Hr’g Tr., 18:20-22) (“[T]he existence of a

power of appointment is a state law matter which you would rule upon.”) Further, the Probate Court

Judge engaged in the following colloquy with Emil Lippe, Jr., Esq., Hill III’s counsel, with respect

to the impact on the dispositions in Hill Jr.’s Will were he to lack the powers of appointment:

        Mr. Lippe:        If we had a will that said that the executor is entitled to convey the
                          Brooklyn Bridge to Vladimir Putin, and the decedent didn’t own the
                          Brooklyn Bridge, that’s—it’s a silly example, but that’s essentially
                          what we’re dealing with. We’re dealing with a grant of power that I
                          say—that we contend can’t be done. Now, they’ll disagree, of course.

        The Court:        Well, Mr. Lippe, I think that’s a perfect example, because I have the
                          exact same example in my mind. Maybe not Vladimir Putin;
                          however, the Brooklyn Bridge was the example I was thinking about.
                          And if a will disposes of the Brooklyn Bridge or the Margaret Hunt
                          Bridge, then that doesn’t mean the will is invalid. It means maybe
                          that disposition is invalid, right? It means it may lapse. It doesn’t
                          mean that the will is invalid.

        Mr. Lippe:        And I believe our request for declaratory relief is asking the Court to
                          make a ruling as to whether or not certain portions of the will can be
                          enforced.

Id. at 144 (Hr’g Tr., 16:20-25, 17:1-14).7


        7
           Hill III agreed not to contest Hill Jr.’s Will or the disposition of his property. Settlement
Agreement § III(1)(f) (Doc. 879); Final J. ¶ 25 (Doc. 999). If Hill III is correct, however, that Hill Jr. lacked
the powers of appointment he exercised in his Will and impermissibly dissolved the trusts in violation of the
1935 MHTE Trust Instrument and the 1935 HHTE Trust Instrument—which H.L. Hunt and Lyda Hunt
intended to be irrevocable—then the assets that were the subject of the powers of appointment would not
rightfully have been Hill Jr.’s property. The court declines to read the Settlement Agreement and Final
Judgment so broadly as to immunize Hill Jr. and the trustees from reasonable inquiry into the legitimacy of
both Hill Jr.’s exercise of powers of appointment in his Will to the exclusion of lineal descendants and the
termination during his lifetime of trusts intended to be irrevocable.


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       In light of the Probate Court’s consideration of Hill Jr.’s Will and the attendant unique

circumstances, the court must consider the probate exception to federal jurisdiction. As previously

summarized by this court:

               A longstanding limitation on federal jurisdiction is the probate exception,
       which is a judicially created doctrine. Marshall v. Marshall, 547 U.S. 293, 298, 126
       S.Ct. 1735, 164 L.Ed.2d 480 (2006). It is an exception “to otherwise proper federal
       jurisdiction.” Id. at 308. The probate exception is to be narrowly construed, and in
       defining its scope, the United States Supreme Court recently held:

               [T]he probate exception reserves to state probate courts the probate
               or annulment of a will and the administration of a decedent’s estate;
               it also precludes federal courts from endeavoring to dispose of
               property that is in the custody of a state probate court. But it does not
               bar federal courts from adjudicating matters outside those confines
               and otherwise within federal jurisdiction.

       Id. at 311–12. “In determining whether a suit in federal court interferes with state
       probate proceedings, [the Fifth Circuit] considers whether the plaintiff’s claim
       implicates the validity of the probate proceedings or whether the plaintiff is merely
       seeking adjudication of a claim between the parties.” Breaux v. Dilsaver, 254 F.3d
       533, 536 (5th Cir. 2001) (citations and internal quotations omitted); see also Morgan
       v. Chase Home Finance, L.L.C., 306 F. App’x 49, 53 (5th Cir. 2008).

Lennon v. Scott & Stringfellow, LLC, 2010 WL 1962672, at *3 (N.D. Tex. May 14, 2010) (Lindsay,

J.). More recently, the Fifth Circuit recognized that: “[T]o determine whether the probate exception

deprives a federal court of jurisdiction, Marshall requires a two-step inquiry into (1) whether the

property in dispute is estate property within the custody of the probate court and (2) whether the

plaintiff’s claims would require the federal court to assume in rem jurisdiction over that property.”

Curtis v. Brunsting, 704 F.3d 406, 409 (5th Cir. 2013). “If the answer to both inquiries is yes, then

the probate exception precludes the federal district court from exercising diversity jurisdiction.” Id.



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       Not surprisingly, the parties offer different interpretations of the probate exception and its

application to the pending motions. While Respondents argue that the probate exception has no

application, as all issues raised “relate to the [Settlement Agreement] and [Final Judgment] [and]

therefore are subject to this Court’s exclusive jurisdiction[,]” see Consolidated Reply 17 (Doc.

1878), Hill III asserts it applies, but only to certain issues. The court need not reach this question

today because, as illustrated above by Mr. Myers’s statement and the colloquy between the Probate

Judge Court and Mr. Lippe, the issue of whether Hill Jr.’s exercise of powers of appointment in his

Will was valid is pending before the Probate Court. Further, wile the court acknowledges its

continuing jurisdiction over the implementation and enforcement of the Settlement Agreement and

Final Judgment, it does not intend to engage in duplicative litigation, resulting in potentially

conflicting rulings, or risk interfering with the Probate Court’s jurisdiction.

       In sum, Hill III’s standing hinges on whether, following Hill Jr.’s death, he was a current

beneficiary of the MHTE and HHTE, in which case the waiver of standing provision in the Final

Judgment is not triggered. If the powers of appointment Hill Jr. exercised in his Will are valid, and

the trusts at issue were lawfully dissolved during Hill Jr.’s lifetime, Hill III would not be a current

beneficiary and, therefore, would lack standing under the Final Judgment. This dispute is pending

in the Probate Court. Until the Probate Court resolves Hill III’s request for declaratory relief as to

whether Hill Jr. lacked the powers of appointment he sought to exercise in his Will, the court cannot

determine whether Hill III waived his standing under section III(5)(b) of the Settlement Agreement

and paragraph 28 of the Final Judgment.



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III.    Conclusion

        For the reasons stated herein, the court denies without prejudice as premature the

remaining relief sought in Washburne and Summers’ Emergency Motion to Enforce the Final

Judgment and Settlement Agreement, and Application for Temporary Restraining Order, Preliminary

Injunction, and Permanent Injunction (Doc. 1876); and denies without prejudice as premature

Albert G. Hill, III’s Emergency Application for Temporary Restraining Order and Injunctive Relief

to Enforce Global Settlement Agreement and Final Judgment and for Preservation of Assets and

Records (Doc. 1877).8

        It is so ordered this 3rd day of July, 2018.


                                                 _________________________________
                                                 Sam A. Lindsay
                                                 United States District Judge




        8
          Nothing in this decision should be construed by the parties as the court’s endorsement of either
side’s version of the facts or interpretation of the relevant trust instruments.


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